                 Case 1:10-cr-00031-JRH-BKE Document 80 Filed 09/23/19 Page 1 of 1
GASD Firsi Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(])(B)         Page I of 2|tPfl|e 2 Not for Public Disclosure)
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                                       United States District CouRfwiR'^^TT'.
                                                                                                               2019SEP 23 PH t,: 5l»
                                                     Southern          District of         Georgia
                                                                 Augusta Division                             CLERK                           -
                                                                                                                     S0.D13T. OF
                     United States of America
                                      V.

                                                                                Case No:        OR 1 10-00031-001
                         Lindsey Lawson, Sr.
                                                                                 USMNo: 07871-021
Date of Original Judgment:         September 20,2010
Date of Previous Amended Judgment: N/A                                          E          SenteU, III
(Use Dale ofLast Amended Judgment ifAny)                                         Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                           PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

        Upon motion of ^ the defendant D the Director of the Bureau of Prisons D the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG § 1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         ^ DENIED,             n GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of       _                                     months IS reduced to
                            (See Page 2for additional parts. Complete Parts I and // ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of thejudgment dated                       SeptemtieF-30>^010_ shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                          Judge rsignature


Effective Date:                                                      T. RandalTlall, Chief Judge
                                                                     United States District Court
                                                                     Southern District of Georgia
                     (ifdifferentfrom order date)                                                      Printed name and title
